                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                            DOCKET NO. 1:15-cr-00068-MOC

 UNITED STATES OF AMERICA,                      )
                                                )
                 Plaintiff,                     )
                                                )
 v.                                             )                      ORDER
                                                )
 JAMIE LYNN SWARTZ,                             )
                                                )
                 Defendant.                     )




       THIS MATTER is before the court on defendant’s Motion for Modification or

Reduction of Sentence (#103). This court has previously denied a request by the defendant to

reduce her sentence (# 102).

       The court has reviewed the instant pro se Motion. In the Motion, the defendant argues

that there have been intervening post-conviction changes in the Sentencing Guidelines that

would effectively lower the term of her imprisonment. The court finds no such intervening

changes.

       The defendant was sentenced in March 2016 to seventy (70) months of incarceration. The

defendant contends that a post-sentencing change of the Sentencing Guidelines bears upon her

sentencing. In support of her position, the defendant cites to a 2007 action by the U.S.

Sentencing Commission; a 2003 Eleventh Circuit decision; the 2005 United States v. Booker

decision of the U.S. Supreme Court, and a 2007 decision of the Ninth Circuit. The items cited by

plaintiff do not amount to a post-sentencing change, as they occurred before the March 2016




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              sentencing date. Accordingly, the court finds that there has not been an intervening post-

              sentencing change that would have affected the defendant’s sentence of imprisonment.

                                                         ORDER

                      IT IS, THEREFORE, ORDERED that defendant’s Motion for Modification or

              Reduction of Sentence (#103) is DENIED.




Signed: September 29, 2016




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